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                                                                    US DISTRICT COURT E.D.N.Y.



  UNITED STATES DISTRICT COURT                                      *      DEC 0 3 201'1    *
  EASTERN DISTRICT OF NEW YORK                                       BROOKLYN OFFICE
   r
  ~BERRY GRANT,
                                                     Case No. 12 CV 2149 (CBA)(VMS)
                          Plaintiff,

          -against-                                        STIPULATION OF
                                                      DISMISSAL WITH PREJUDICE
  iuNJ:TED FEDERATION OF TEACHERS,
  tJNITED CEREBRAL PALSY OF NEW
  YORK CITY, INC.,

                          Defendants.




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                                          So Ordered:
                                           s/Carol B. Amon
                                                           /   ; ' T =-,
                                        --U.S.D.J.
